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                  IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF ARIZONA

                                          )
In re:                                    )      Chapter 13
                                          )
DUSTIN L. KETCHERSIDE and                 )      No. 2:19-bk-06559-PS
NICOLA J. KETCHERSIDE,                    )
                                          )      CHAPTER 13 PLAN AND APPLICATION
                                          )      FOR PAYMENT OF ADMINISTRATIVE
                                          )      EXPENSES
                                          )
                                          )      X       Original
                                          )      ☐       First, Second Amended
         Debtor(s).                       )      ☐       First, Second Modified
                                          )      ☐       Plan payments include post-
                                          )              petition mortgage payments
                                          )      X       Flat Fee/Administrative Expense
                                          )      ☐       Hourly Fee/Administrative Expense
                                          )

This Plan1 includes the following (check all that are applicable):
       X A limit on the amount of a secured claim, which may result in a partial
              payment or no payment to the secured creditor. See Section (C)(5)(b).
       ☐ Avoidance of a judicial lien or nonpossessory, nonpurchase money security
              interest. See Section (C)(5)(c).
       ☐ Nonstandard Provisions. See Section (H).

Your rights may be affected by this Plan. Your claim may be reduced,
modified or eliminated. If you object to the treatment of your claim as
proposed in this Plan or to any provision of this Plan, you must file a written
objection by the deadline set forth below. The Bankruptcy Court may confirm
this Plan without further notice if no objection is filed and the order is
approved by the Trustee. See Bankruptcy Rule 3015 and Local Rule 2084-13.


1   “Plan” includes the original plan and any amended or modified plan.

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This Chapter 13 Plan is proposed by the above Debtor. 2 The Debtor certifies that the
information contained in this Plan is accurate. A creditor who disagrees with the
proposed treatment of its debt in this Plan must timely file an objection to the Plan
and serve copies on the Debtor, Debtor’s attorney (if any), and the Chapter 13 Trustee
not less than 14 days after the date set for the first meeting of creditors, or any
continuation of such meeting, or 28 days after service of the Plan, whichever is later.
See Local Rule 2084-9.

This Plan does not allow claims or alter the need for timely filing any claim. For a
creditor to receive a distribution for an unsecured claim, the creditor must file a proof
of claim with the Court.

If confirmed, the Plan will modify the rights and duties of the Debtor and creditors,
except secured creditors will retain their liens until the earlier of payment of the
underlying debt or Debtor’s discharge under Code § 1328. 3 If the case is dismissed or
converted to another chapter (for example, Chapter 7) without completion of the Plan,
each lien shall be retained to the extent recognized by applicable nonbankruptcy law.

Pre-petition defaults will be cured using the interest rate set forth in the Plan or Code
§ 511, if applicable. Any ongoing obligation will be paid according to the terms of the
Plan.

       ☐ This is an Amended or Modified Plan.

       The reason(s) Debtor filed this Amended or Modified Plan: N/A.
       Summarize how the Plan varies from the last Plan filed: N/A.

(A)    PLAN PAYMENTS AND PROPERTY TO BE SUBMITTED TO THE PLAN.

      Plan payments start on JUNE 28, 2019. The Debtor shall pay the
Trustee as follows:

              $1,375.00 each month for month 01 through month 60.

              Total plan yield will be $82,500.00

              The proposed plan duration is 60 months. The applicable
              commitment period is 60 months. See Code Section 1325(b)(4). In
              addition to the plan payments and, if applicable, mortgage conduit
              payments, Debtor will submit the following property to the Trustee:



       ☐ Nonstandard Provisions. See Section (H).

2   If this is a joint case, then “Debtor” means both Debtors.
3   “Code” means the United States Bankruptcy Code, 11 U.S.C. § 101 et. seq.

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(B)    TRUSTEE’S PERCENTAGE FEE.

The Trustee shall collect upon receipt a percentage fee from all plan payments
(including mortgage payments) and property received, not to exceed 10%. See 28
U.S.C. § 586(e).

(C)    ADMINISTRATIVE EXPENSES AND ALL CLAIMS.

       (1)   Adequate Protection and Mortgage Conduit Payments.

             Until the Court confirms the Plan, the Trustee will make adequate
             protection payments under Section (C)(1)(a) below, mortgage conduit
             payments under Section (C)(1)(b), if applicable, and pay other sums as
             ordered by the Court. Other disbursements will be made after the Court
             confirms the Plan. Unless otherwise provided for in Section (H) below,
             disbursements by the Trustee shall be pro rata within classes and made
             in the following order:

             (a)   Adequate protection payments to creditors secured by
                   personal property. Code § 1326(a)(1)(C).

                   ☐ None. If “None” is checked, the rest of Section (C)(1)(a) is not
                           to be completed.

                   Pursuant to Local Rule 2084-6, the Trustee is authorized to make
                   monthly pre-confirmation adequate protection payments to a
                   secured creditor without a Court order, provided the claim is
                   properly listed on Schedule D, a secured proof of claim is filed that
                   includes documentation evidencing a perfected security agreement,
                   and the Debtor or creditor sends a letter to the Trustee requesting
                   payment. The Trustee will apply adequate protection payments to
                   the creditor’s secured claim. After confirmation, adequate
                   protection payments will continue until the claim is paid in full,
                   unless the confirmed Plan or a Court order specifies a different
                   treatment. If a creditor disagrees with the amount of the proposed
                   adequate protection payments or the Plan fails to provide for such
                   payments, the creditor may file an objection to confirmation of this
                   Plan and/or file a motion pursuant to Code §§ 362 or 363.

                   ADEQUATE PROTECTION:

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     CREDITOR                PROPERTY         COLLATERAL VALUE           MONTHLY A.P.
                            DESCRIPTION                                    AMOUNT

Progressive           2 wedding rings         $1,000                $10

Progressive           Vehicle tires           $800                  $8

Credit Acceptance     2013 Toyota Tundra      $18,000               $180
Claim #1

Exeter Financial, LLC 2010 Toyota FJ          $15,000               $150
Claim #3              Cruiser

Bridgecrest           2014 Kia Optima         $10,000               $100


                    TOTAL ADEQUATE PROTECTION PER MONTH $448.00

                    ☐ Nonstandard Provisions. See Section (H).

              (b)   Mortgage Conduit Payments.

                    X None.

                    The Trustee shall disburse Conduit Payments to a Real Property
                    Creditor without regard to whether the Court has confirmed a Plan
                    or the Real Property Creditor has filed a proof of claim. See Section
                    (C)(4)(c) and Local Rule 2084-4.

      (2)     Administrative expenses. See Code § 507(a)(2).

              (a)   Attorney fees.

                    Debtor’s attorney has agreed to:

                    X A flat fee of $4,500.00, of which $0.00 (zero) was paid
                          before the filing of the case (see Local Rule 2084-3);

                    OR

                    ☐ File a fee application for payment of a reasonable amount
                           of fees. The estimated amount of fees to be paid by
                           the Trustee, subject to Court order, is $            ,
                           of which $          was paid before the filing of the case.



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             (b)   Additional Services.

                   All other additional services will be billed at the rate of $350.00 per
                   hour for attorney time and $195.00 per hour for paralegal time.
                   Counsel will file and notice a separate fee application detailing the
                   additional fees and costs requested. Counsel will include all time
                   expended in the case in the separate fee application.

             (c)   Other Professional Expenses.




      (3)    Leases and Unexpired Executory Contracts.

             ☐ None. If “None” is checked, the rest of Section (C)(3) is not to be
                     completed.

             Pursuant to Code § 1322(b), the Debtor assumes or rejects the following
             lease or unexpired executory contract. For a lease or executory contract
             with sums owing, the arrearage will be cured by periodic plan payments.
             Unless the Court orders otherwise, the arrearage amount shall be the
             amount stated in the creditor’s allowed proof of claim.

             (a)   Assumed.

                   No interest will be paid on the pre-petition arrearage unless
                   otherwise stated in Nonstandard Provisions at Section (H). A
                   creditor identified in this paragraph may mail to the Debtor all
                   correspondence, notices, statements, payment coupons, escrow
                   notices, and default notices concerning any change to the monthly
                   payment or interest rate without such being a violation of the
                   automatic stay.

     CREDITOR                PROPERTY           ESTIMATED              ARREARAGE
                            DESCRIPTION       ARREARAGE AMT.          THROUGH DATE
Justin & Tanya
Kaufmann              Debtor’s Residence     $0.00 (zero)          N/A

                   ☐ Nonstandard Provisions. See Section (H).

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             (b)     Rejected.

                   CREDITOR                             PROPERTY DESCRIPTION



                     ☐ Nonstandard Provisions. See Section (H).

       (4)   Creditors with a Security Interest in Real Property.

             X None. If “None” is checked, the rest of Section (C)(4) is not to be
                     completed.

       (5)   Claims Secured by Personal Property or a Combination of Real and
             Personal Property.

             ☐ None. If “None” is checked, the rest of Section (C)(5) is not to be
                     completed.

             Claims under paragraphs (a) and (b) that are included in the plan
             payment will be paid concurrently and pro rata.

             (a)     Unmodified Secured Claims.

                     ☐ None. If “None” is checked, the rest of Section (C)(5)(a) is not to
                             be completed.

                     A claim stated in this subparagraph (i.e., 910 claims) will be paid in
                     full under the Plan with interest at the rate stated below, which
                     may vary from the contract interest rate. Unless otherwise
                     ordered, the principal amount to be paid will be as stated in the
                     creditor’s proof of claim. The holder of a claim will retain the lien
                     until the earlier of payment of the underlying debt determined
                     under nonbankruptcy law or discharge under Code § 1328, at
                     which time the lien will terminate and shall be released by the
                     creditor. Federal tax liens shall continue to attach to property
                     excluded from the bankruptcy estate under Code § 541(c)(2) until
                     the Internal Revenue Service is required to release the liens in
                     accordance with nonbankruptcy law.


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       CREDITOR              PROPERTY             ESTIMATED               PROPOSED
                            DESCRIPTION         AMOUNT TO BE            INTEREST RATE
                                               PAID ON SECURED
                                                    CLAIM
Credit Acceptance      2013 Toyota Tundra     $18,921.44             7.5%
Claim #1

Exeter Financial, LLC 2010 Toyota FJ          $19,674.71             7.5%
Claim #3              Cruiser

Bridgecrest            2014 Kia Optima        $10,519.07             7.5%

                    ☐ This debt has nonfiling codebtor(s) other than a spouse.
                      Name(s) of other individual(s) liable:
                      Post-petition payments to be made by:      ☐ Trustee; or
                                                                 ☐ Nonfiling co-debtor.

                    ☐ Nonstandard Provisions. See Section (H).

              (b)   Modified Secured Claims.

                    ☐ None. If “None” is checked, the rest of Section (C)(5)(b) is not to
                            be completed.

                    Secured creditors listed below shall be paid the amount shown
                    below as the Amount to be Paid on Secured Claim, with such
                    amount paid through the Plan payments. If the Plan proposes to
                    pay a Secured Claim less than the amount asserted in the proof of
                    claim, then the holder of the Secured Claim must file a timely
                    objection to the Plan. If the principal amount of the creditor’s proof
                    of claim is less than the Amount to be Paid on Secured Claim, then
                    only the proof of claim amount will be paid. If a creditor fails to file
                    a secured claim or files a wholly unsecured claim, the debtor may
                    delete the proposed payment of a secured claim in the order
                    confirming plan. The holder of a timely filed secured claim will
                    retain its lien until the earlier of payment of the underlying debt
                    determined under nonbankruptcy law or discharge under Code
                    § 1328, at which time the lien will terminate and shall be released
                    by the creditor. Any proposed adequate protection payments are
                    provided for in Section (C)(1)(a) above.

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CREDITOR AND           DEBT AMOUNT         VALUE OF        AMOUNT TO BE   PROPOSED
  PROPERTY                               COLLATERAL &        PAID ON    INTEREST RATE
 DESCRIPTION                              VALUATION          SECURED
                                           METHOD             CLAIM

Progressive     $2,391.67               $1,000             $1,000           7.0%
2 wedding rings                         Debtors’
                                        estimate

Progressive            $1,754.92        $800               $800             7.0%
Vehicle tires                           Debtors’
                                        estimate

                        ☐ Nonstandard Provisions. See Section (H).

                (c)     Lien Avoidance.

                        X None. If “None” is checked, the rest of Section (C)(5)(c) need
                                not be completed.

      (6)       Priority, Unsecured Claims, Other Than Debtor’s Attorney Fees.

                ☐ None. If “None” is checked, the rest of Section (C)(6) is not to be
                        completed.

                All allowed claims entitled to priority treatment under Code § 507 shall be
                paid in full, pro rata.

                (a)     Unsecured Domestic Support Obligations.

                        The Debtor shall remain current on such obligations that come due
                        after filing the petition. Unpaid obligations before the petition date
                        are to be cured in the plan payments. The amount to be paid will
                        be adjusted to the creditor’s allowed claim amount, through the
                        claim process. If the holder of a domestic support obligation
                        disagrees with the treatment proposed in this Plan, the holder
                        must file a timely objection.

                      CREDITOR                             ESTIMATED ARREARAGE

State of Idaho                                     $1,800.00




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             (b)     Other unsecured priority claims.

         CREDITOR                TYPE OF PRIORITY DEBT          ESTIMATED AMOUNT

Internal Revenue Service       2016 Individual Income Tax $1,291.27

Idaho State Tax                Individual Income Tax        unknown
Commission

Oklahoma Tax Commission        2015 Individual Income Tax $909.99

             ☐ Nonstandard Provisions. See Section (H).

       (7)   Nonpriority, Unsecured Claims.

             Allowed unsecured, nonpriority claims shall be paid pro rata the balance
             of payments, if any, under the Plan. The amount to be paid or actually
             paid may differ from the Plan Analysis, depending on the Plan
             confirmation process and claims allowance.

             ☐ Nonstandard Provisions. See Section (H).

(D)    SURRENDERED PROPERTY.

       X None. If “None” is checked, the rest of Section (D) is not to be completed.

       Debtor surrenders the following property to the secured creditor. Upon
       confirmation of this Plan or except as otherwise ordered, bankruptcy stays are
       lifted as to the collateral to be surrendered. Any claim filed by such creditor
       shall receive no distribution until the creditor files a claim or an amended proof
       of claim that reflects any deficiency balance remaining on the claim. Should the
       creditor fail to file an amended deficiency claim consistent with this provision,
       the Trustee need not make any distributions to that creditor.

                   CREDITOR                            PROPERTY DESCRIPTION




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(E)   VESTING.

      Except as stated in this paragraph, property of the estate shall vest in the
      Debtor upon confirmation of the Plan.

      X The following property shall vest in the Debtor upon Plan completion:

                               DESCRIPTION OF PROPERTY
All wages of the Debtor(s) until the case is completed or dismissed and
proceeds from the sale of real property until released to the Debtor by the
written approval of the Trustee or by Court Order.

(F)   TAX RETURNS.

      While the case is pending, the Debtor shall provide to the Trustee a copy of any
      post-petition tax return within 14 days after filing the return with the tax
      agency. The Debtor has filed all tax returns for all taxable periods during the
      four-year period ending on the petition date, except:

                                 UNFILED TAX RETURNS
Debtors believe all tax returns have been filed. However, IRS claim #2
shows 2013 tax returns as un-filed.

(G)   FUNDING SHORTFALL.

      Debtor will cure any funding shortfall before the Plan is deemed completed.


(H)   NONSTANDARD PROVISIONS.

      Any Nonstandard Provision included herein must not be inconsistent with the
      Code or Local Rules and must identify the provision of the Plan being modified,
      the proposed modification and the justification for the modification. Any
      Nonstandard Provision placed elsewhere in this Plan is void. The Debtor submits
      the following provisions that vary from Section (C) of the Local Plan Form:

      X None. If “None” is checked, the rest of Section (H) is not to be completed.

      ☐ Provide the detail required above.

                              NONSTANDARD PROVISIONS
[State the provision(s) with reference to relevant paragraph(s)]



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(I)   PLAN SUMMARY.

If there are discrepancies between the Plan and this Plan Analysis, the provisions of
the confirmed Plan control.

      (1) Trustee's Compensation (10% of plan payments) ……………      $8,250.00
      (2) Administrative expenses and claims (C2) (estimated) ……… $4,500.00
      (3) Leases and Executory Contracts (C3) ………………………………… $0.00
      (4)(a) Conduit Mortgage Payments (C4c) ………………………………          $0.00
      (4)(b) Arrearage Claims Secured Solely by Real Property
              (C1b & C4c) ……………………………………………………………………… $0.00
      (5)(a) Claims Secured by Personal Property or Combination of
             Real & Personal Property (C5a) – Unmodified …………      $58,939.20
      (5)(b) Claims Secured by Personal Property or Combination of
             Real & Personal Property (C5b) – Modified ………………      $1,800.00
      (6) Priority Unsecured Claims (C6) ………………………………………           $7,500.00
      (7) Amount to unsecured nonpriority claims (C7) ………………..     $1,510.80
      (8) Total of Plan Payments to Trustee ………………………………………… $82,500.00

(J) SECTION 1325 ANALYSIS.

(1)   Best Interest of Creditors Test:

      (a)   Value of Debtor’s interest in nonexempt property ………..     $0.00
      (b)   Plus: Value of property recoverable under avoidance powers $0.00
      (c)   Less: Estimated Chapter 7 administrative expenses ……….     $0.00
      (d)   Less: Amount to unsecured priority creditors …………….        $7,500.00
      (e)   Equals: Estimated amount payable to unsecured
              nonpriority claims if Debtor filed Chapter 7 …………….      $0.00

      Paragraph (2) to be completed by debtors whose current monthly income
exceeds the state’s median income.

      (2)     Section 1325(b) Analysis:

              (a) Monthly disposable income under § 1325(b)(2),
              Form 122C-2, line 45 Statement of Current Monthly Income <$928.67>
              (b) Applicable commitment period . . . . . . . . . . . . . . . . . . . x 60
              (c) Total of Line (2)(a) amount x 60 . . . . . . . . . . . . . . . . . . $0.00

      (3) Estimated Payment to Unsecured, Nonpriority Creditors
      Under the Plan . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $1,510.80




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